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 5
 6   Attorney for Defendant
     PORSHA DICKENS
 7
 8
                IN THE UNITED STATES OF DISTRICT COURT FOR THE
 9
                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,
12                                                 Case No.: 2:17-CR-00039-JAM
                  Plaintiff,
13                                                 WAIVER OF PERSONAL
14                 v.                              APPEARANCE

15   PORSHA D. DICKENS,
16
                  Defendant.
17
18
           Defendant PORSHA D. DICKENS hereby waives the right to be present in person
19
     in open court upon the hearing of any motion or other proceeding in this case, including
20
     when the case is set for trial, when a continuance is ordered, when time is excluded under
21
     the Speedy Trial Act, when a detention hearing is held, and when any other action is
22
     taken by the Court before or after trial, except upon arraignment, plea, impanelment of
23
     jury and imposition of sentence.
24
25   //

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     //
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 1          Defendant hereby requests the Court to proceed during every absence of his which
 2   the Court may permit pursuant to this waiver; agrees that his interests will be deemed
 3   represented at all time by the presence of his attorney, the same as if defendant were
 4   personally present; and further agrees to be present in person in court ready for trial on
 5   any day which the Court may fix in his absence.

 6
 7   DATED: April 7, 2017                                        /s/ Porsha D. Dickens
                                                                 PORSHA D. DICKENS
 8                                                               Defendant
 9
10
     DATED: April 7, 2017                                        /s/ Tasha Paris Chalfant
11                                                               TASHA PARIS CHALFANT
                                                                 Attorney for Defendant
12                                                               PORSHA D. DICKENS
13
14   (Original Signatures on File at Attorney’s Office)
15
16
17
     IT IS SO ORDERED
18
19
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21
     Dated: 4/12/2017                                     /s/ John A. Mendez____________
22                                                        HON. JOHN A. MENDEZ
                                                          United States District Court Judge
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